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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                        )       No. CR-S-06-0441 GEB
                                                      )
10
                                                      )
            Plaintiff,                                )       STIPULATION AND
11
                                                      )       [PROPOSED ORDER] CONTINUING
     v.                                               )       STATUS CONFERENCE
12
                                                      )
     WENDALL STEWART, et al,                          )       Date: April 22, 2011
13
                                                      )       Time: 9:00 a.m.
                                                      )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                               )
                                                      )
15
                                                      )
                                                      )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., and counsel for defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the
21
     status conference presently set for April 8, 2011 be continued to April 22, 2011, at 9:00 a.m.,
22
     thus vacating the presently set status conference.
23
            Counsel for the parties agree that this is an appropriate exclusion of time within the
24
     meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable
25
     time for effective preparation, specifically the continuance is requested to allow more time for
26
     defense preparation and possible negotiations for resolution) and Local Code T4, and agree to
27
     exclude time from the date of the filing of the order until the date of the status conference,
28
     April 22, 2011.


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 1   IT IS SO STIPULATED.
 2
     Dated: March 30, 2011                            /s/ John R. Manning
 3                                                   JOHN R. MANNING
                                                     Attorney for Defendant
 4                                                   Ricardo Venegas
 5
     Dated: March 30, 2011                           /s/ Candace A. Fry
 6                                                   CANDACE A. FRY
                                                     Attorney for Defendant
 7                                                   Wendell Stewart
 8
     Dated: March 30, 2011                            /s/ Edward C. Bell
 9                                                   EDWARD C. BELL
                                                     Attorney for Defendant
10                                                   Isauro Jauregui Catalan
11

12   Dated: March 30, 2011                           Benjamin B. Wagner
                                                     United States Attorney
13

14                                             by:   /s/ Jill M. Thomas
                                                     JILL M. THOMAS
15                                                   Assistant U.S. Attorney
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              Case 2:06-cr-00441-DAD Document 366 Filed 04/04/11 Page 3 of 4


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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
                                                    )
10
                                                    )
            Plaintiff,                              ) [PROPOSED] ORDER TO
11
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
12
                                                    )
     WENDALL STEWART, et al.,                       )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
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                                                    )
                                                    )
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18
            GOOD CAUSE APPEARING, it is hereby ordered that the April 8, 2011 status
19
     conference be continued to April 22, 2011 at 9:00 a.m. I find that the ends of justice warrant an
20
     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
21
     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
22
     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
23
     Local Code T4 from the date of this order to April 22, 2011.
24
     IT IS SO ORDERED.
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     Date: 4/1/2011
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27                                                        _________________________
                                                          GARLAND E. BURRELL, JR.
28                                                        United States District Judge


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                           Case 2:06-cr-00441-DAD Document 366 Filed 04/04/11 Page 4 of 4



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 2   DEAC_Signature-END:




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